                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


In re:



LINEAR MOLD & ENGINEERING,                        Case No. 21-42617
LLC,                                              Chapter 11
                                                  Hon. Mark A. Randon

        Debtor.



                                       COVER SHEET
                                For Small Business Debtor

                           STATEMENT OF OPERATIONS



                                           Respectfully Submitted,
                                           STROBL SHARP PLLC

                                          By: /s/ Lynn M. Brimer
Dated: March 28, 2021                     Lynn M. Brimer (P43291)
                                          Pamela S. Ritter (P47886)
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                                           pritter(%stroblpc,cgm
                                           Proposed Counsel for the Debtor and
                                           Debtor in Possession


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4:12 PM                                         Linear AMS,LLC.
03/16/21                                         Profit & Loss
Accrual Basis                                      February 2021

                                                                      Feb 21          Jan - Feb 21
                Ordinary Income/Expense
                    Income
                      40051 • REVENUE AMP                                 10,579.91          22,842.96
                      40052 • REVENUE AMIVI                                8,462.55          62,587.77
                      40053 • REVENUE PIM                                115,200.23         499,137.72
                      40054 • REVENUE TIM                                 64,375.00         121,243.00
                      40062 • REVENUE AMMT                                 5,915.46           5,915.46

                    Total Income                                         204,533.15         711,726.91

                    Cost of Goods Sold
                      50000 • COST OF GOOD SOLD
                         50091 • COS AMP                               3,885.64           6,033.00
                         50092 • COS AIVIM                             2,507.01          18,339.81
                         50093 • COS PIM                              22,111.70          90,013.28
                         50094 • COS TIM                              25,837.49          29,391.35
                         59000 • JOB COST LABOR                            0.00              0.00
                         50000 • COST OF GOOD SOLD - Other                 0.00              0.00

                      Total 50000 • COST OF GOOD SOLD                    54,341.84          143,777.44

                      60001 • WAGES AMP                                   2,719.32            4,953.60
                      60003 • WAGES PIIVI                                62,756.78          116,978.39
                      60004 • WAGES TIM                                       0.00                0.00
                      60005 • WAGES OPS OH                               21,495.36           37,676.88
                      60011 -OT WAGES AMP                                     0.00               0.00
                      60013-0T WAGES PIM                                  4,144.34            9,949.75
                      60015-0T WAGES OPS OH                                  37.50               37.50
                      60021 -VAC WAGES AMP                                  735.36            1,065.60
                      60023 • VAC WAGES PIM                                   0.00              120.00
                      60025 • VAC WAGES OPS OH                              160.00              160.00
                      61011 • SHOP CONSUMABLES AMP                        1,200.00            1,303.66
                      61012 • SHOP CONSUMABLES AMM                            0.00               75.51
                      61013 • SHOP CONSUMABLES PIM                        4,580.51           10,135.85
                      61029 • RENT CH                                    29,604.17           59,208.34
                      61030 • RENT GB
                        61037 • RENT RECEIVED - GB                       0.00                0.00
                        61030- RENT GB-Other                         22,000.00           44,000.00

                      Total 61030- RENT GB                               22,000.00          44,000.00

                      61032 • LEASE EQU SOFTWARE AMM                      1,006.09           2,012.18
                      61035 • LEASE EQU SOFTWARE OPS OH                   1,353.33           2,706.66
                      61053 • EQU REPAIR MAINT PIM                          440.00           6,270.05
                      61095-AUTO OPS OH                                     413.35             413.35
                      61105 • COMPUTER EQUIP HARDWARE OPS OH              1,430.67           2,907.21
                      61152 • OUTSIDE SERVICES AMM                            0.00            1,980.00
                      61153 • OUTSIDE SERVICES PIM                       13,058.25          26,395.25
                      61154 • OUTSIDE SERVICE TIM                        17,552.50          52,465.60
                      61265 • FREIGHT OUTBOUND OPS OH                     7,136.55          14,083.20
                      61285 • TRAVEL TRANS OPS OH                         2,206.42           3,073.47
                      64950- BLDMAINTGB                                   1,333.55           1,465.31
                      64955- BLDMAINTCH                                     825.00           1,692.00
                      67000 • ELECTRICIPr GB                              1,155.39          -1,651.58
                      67001 • ELECTRICIPT CH                             19,882.45          40,671.18
                      67020 • WATER GB                                         0.00            203.24
                      67100-NATURAL GAS GB                                  637.94           1,277.07
                      67105- NATURAL GAS CH                                   0.00           3,200.00
                      67120- PROP TAX GB                                  4,395.85           5,772.53
                      67121 -PROP TAX CH                                  7,241.82          14,483.64
                      69001 • DEP AMP                                    15,216.20          30,432.40
                      69002 • DEP AIVIM                                   4,750.58           9,501.16
                      69003 • DEP PIM                                    11,238.77          22,477.54
                      69005 • DEP OPS OH                                  1,612.03           3,224.06
                      81004- FICAERCOS                                    6,676.34          12,348.38
                      81024 • UNEMPLOYMENT INSURANCE ER COS               6,087.02          12,918.56
                      81055 • MEDICAL INS EX COS                          7,112.94           6,568.53

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4:12 PM                                            Linear AMS,LLC.
03/16/21                                            Profit & Loss
Accrual Basis                                             February 2021

                                                                          Feb 21           Jan - Feb 21

                          81056 • MEDICAL INS EX EE COS                             0.00              0.00
                          81083 • WORKERS COMP                                  459.00              918.00

                       Total COGS                                            336,997.22         707,251.51

                     Gross Profit                                           -132,464.07           4,475.40

                       Expense
                         60006 • WAGES SGA                                    43,792.32          77,356.56
                         60026 • VAC WAGES SGA                                    0.00               0.00
                         60042 • AGENCY PAYROLL EXPENSEGA                      3,429.02           4,037.48
                         61010- OFFICE SUPPLIES                                2,855.63           3,048.04
                         61036 • LEASE EQU SOFTWARE SGA                          620.10             800.13
                         61096-AUTO SGA                                        3,988.18           6,479.62
                         61106 • COMPUTER EQUIP HARDWARE SGA                      15.00              30.00
                         61116- MEMBERSHIPS SGA                                2,447.00           4,458.50
                         61136 • COMMUNICATIONS SGA                            1,640.17           3,855.20
                         61146 • CONSULTING SGA                                2,700.00           5,925.00
                         61147 • PROFESSIONAL FEES
                           61149-LEGAL                                     5,610.00          16,633.50
                           61147 • PROFESSIONAL FEES - Other              16,335.00          19,095.00

                         Total 61147 • PROFESSIONAL FEES                     21,945.00           35,728.50

                         61155 • OUTSIDE SERVICE SGA                          2,650.00            5,150.00
                         61170 • BUSINESS MEALS ENTERTAINMENT                    0.00                37.69
                         61186 • COMMISSIONS SGA                              4,882.50           12,965.00
                         61206 • BANK CHARGES FEES SGA                        1,588.14            2,902.74
                         61207 • LATE FEES                                    19,943.29          19,943.29
                         61210 • LICENSES & PERMITS                                0.00              75.00
                         61230 • POSTAGE EXPENSE                                 110.00             110.00
                         61286 • TRAVEL TRANS SGA                              1,265.76           1,758.60
                         61316 • TRAVEL MEALS SGA                                 67.09              67.09
                         69004 • DEP TIM                                           89.27            178.54
                         81003-FICAERADM                                      4,267.46            6,572.30
                         81023 • UNEMPLOYMENT INSURANCE ER ADM                1,391.42            4,064.69
                         81053 • MEDICAL INS EX ADM                           5,527.49            6,031.74
                         81054 • MEDICAL INS EX EE ADM                           0.00                 0.00

                       Total Expense                                        125,214.84          201,575.71

                  Net Ordinary Income                                       -257,678.91        -197,100.31

                  Other Income/Expense
                    Other Income
                      91100 • EMPLOYEE RETENTION CREDIT                      93,357.28           93,357.28

                    Total Other Income                                       93,357.28           93,357.28

                    Other Expense
                      61054- RENTAL EQU. PIIVI                                  486.50              486.50
                      90030 • INTEREST                                       28,065.59           48,135.31
                      90040 • GEN INSURANCE EX                                2,908.90            5,817.80
                      90080 • AFLAC                                             209.10              199.92

                    Total Other Expense                                      31,670.09           54,639.53

                  Net Other Income                                           61,687.19           38,717.75

                Net Income                                                 -195,991.72         -158,382.56




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